                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                         KNOXVILLE
 Case #: 3:21-cr-63                                                              Date: May 23, 2022

               United States of America             vs.            Ronald J Speller

 PROCEEDINGS: Change of Plea. The defendant was sworn and advised of his constitutional
 rights and of the penalties of the offense charged.

  THE HONORABLE THOMAS PHILLIPS, UNITED STATES DISTRICT JUDGE PRESIDING


 Angela Archer                           Kara Nagorny                            LaToyia Carpenter
 Deputy Clerk                            Court Reporter                          Asst. U.S. Attorney

 Jonathan Moffatt                                                                Kharmon Anderson
 Attorney for Defendant                                                          Probation Officer

        Factual Basis doc #23 filed on 5/2/22
        Defendant is arraigned and specifically advised of his/her rights pursuant to Rule 11 F.R.C.P.
        Defendant moves to change plea        granted ☐ denied
        Defendant waives reading of the Indictment/Information ☐ Indictment/Information read
        Defendant pleads guilty to Count 1 of the Indictment
 ☐       Government moves to dismiss the remaining count(s) as to this defendant at sentencing.
        Referred for Presentence Investigative Report.

        DATE SET:       Sentencing and Revocation Hearing: September 28, 2022, at 1:00 p.m.
                         Before U.S. District Judge Thomas A. Varlan



     • Parties must adhere to Local Rules 83.9(c) & 83.9(k)

     • If any witnesses are to be called at sentencing, parties must expressly file notice at least
       fourteen days prior to the sentencing date.


 ☐       Defendant to remain on bond
        Defendant remanded to custody of the U.S. Marshal

  2:00 p.m.         to 2:18 p.m.


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